        Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 1 of 33




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                          x
ROBERT LUCAS, Individually and on Behalf :    Civil Action No. 1:20-cv-04740
of All Others Similarly Situated,         :
                                          :   CLASS ACTION
                              Plaintiff,  :
                                          :   COMPLAINT FOR VIOLATIONS OF THE
        vs.                               :   FEDERAL SECURITIES LAWS
                                          :
UNITED STATES OIL FUND, LP, UNITED :
STATES COMMODITY FUNDS LLC, JOHN :
P. LOVE and STUART P. CRUMBAUGH,          :
                                          :
                              Defendants.
                                          :
                                          x   DEMAND FOR JURY TRIAL
              Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 2 of 33




         Plaintiff Robert Lucas (“plaintiff”), individually and on behalf of all others similarly

situated, by plaintiff’s undersigned attorneys, for plaintiff’s complaint against defendants, alleges

the following based upon personal knowledge as to plaintiff and plaintiff’s own acts and upon

information and belief as to all other matters based on the investigation conducted by and

through plaintiff’s attorneys, which included, among other things, a review of U.S. Securities and

Exchange Commission (“SEC”) filings of the United States Oil Fund, LP (“USO” or the “Fund”)

and analyst reports, media reports, releases and other publicly disclosed reports and information

about USO. Plaintiff believes that substantial additional evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

         1.       This is a securities class action on behalf of all persons who purchased USO

securities during the period from March 19, 2020 to April 28, 2020, inclusive (the “Class

Period”), seeking to pursue remedies under the Securities Exchange Act of 1934 (the “1934

Act”).

         2.       USO is an exchange traded fund (“ETF”) purportedly designed to track the daily

changes in percentage terms of the spot price of West Texas Intermediate (“WTI”) light, sweet

crude oil delivered to Cushing, Oklahoma. Because retail investors are generally not equipped to

buy and sell barrels of oil or authorized to trade oil futures, ETFs such as USO provide one of the

primary means that such investors can gain exposure to fluctuations in oil prices.

         3.       USO stated that it would achieve its investment objective by investing

substantially all of its portfolio assets in the near month WTI futures contract.         However,

unbeknownst to investors, extraordinary market conditions in early 2020 made USO’s purported

investment objective and strategy unfeasible. Oil demand fell precipitously as governments

imposed lockdowns and businesses halted operations in response to the coronavirus pandemic.
                                                -1-
            Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 3 of 33




In addition, in early March 2020, Saudi Arabia and Russia launched an oil price war, increasing

production and slashing export prices in a bid to increase the global market share of their

domestic petrochemical enterprises. As excess oil supply increased and oil prices waned, the

facilities available for storage in Cushing, Oklahoma approached capacity, ultimately causing a

rare market dynamic known as “super contango” in which the futures prices for oil substantially

exceeded the spot price. At the same time, retail investors began pouring hundreds of millions of

dollars into USO in an attempt to “buy the dip,” believing (correctly) that the price of oil would

rebound as economies exited lockdown periods and the Russia/Saudi oil price war ended.

Because of the nature of USO’s investment strategy, these converging factors caused the Fund to

suffer exceptional losses and undermined the Fund’s ability to meet its ostensible investment

objective.

       4.       Defendants, as the creators, issuers and operators of the largest oil-related ETF in

existence and active market-making players in the complex commodities and futures markets

that determined the Fund’s performance, possessed inside knowledge about the negative

consequences to the Fund as a result of these converging adverse events. However, rather than

disclose the known impacts and risks to the Fund as a result of these exceptional threats,

defendants instead conducted a massive offering of USO shares, ultimately selling billions of

dollars’ worth of USO shares to the market. Although the offering increased the fees payable to

defendants, it also exacerbated the undisclosed risks to the Fund by magnifying trading

inefficiencies and causing USO to approach position and accountability limits as a result of the

Fund’s massive positions in the WTI futures market.

       5.       In the days that followed, USO quickly deteriorated.         Ultimately, the Fund

suffered billions of dollars in losses and was forced to abandon its investment strategy. Through


                                                -2-
             Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 4 of 33




a series of rapid-fire investment overhauls, USO was forced to transform from the passive ETF

designed to track spot oil prices that defendants had pitched to investors to an almost

unrecognizable actively managed fund struggling to avoid a total implosion. In April and May

2020, defendants belatedly acknowledged the extreme threats and adverse impacts that the Fund

had been experiencing at the time of the March offering, but which they had failed to disclose to

investors.

        6.       As a result of defendants’ material misrepresentations and omissions during the

Class Period, plaintiff and members of the Class (defined below) suffered billions of dollars in

losses. This lawsuit seeks recompense for those losses.

                                     JURISDICTION AND VENUE

        7.       The claims alleged herein arise under §§10(b) and 20(a) of the 1934 Act, 15

U.S.C. §§78j(b) and 78t(a), and Rule 10b-5, 17 C.F.R. §240.10b-5, promulgated thereunder by

the SEC.

        8.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1331 and §27 of the 1934 Act.

        9.       Venue is proper in this District pursuant §27 of the 1934 Act and 28 U.S.C.

§1391(b). USO shares trade and were distributed in this District and many of the acts charged

herein, including the dissemination of materially false and misleading information, occurred in

substantial part in this District.

        10.      In connection with the acts alleged in this complaint, defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not

limited to, the mails, interstate telephone communications and the facilities of the NYSE Arca,

Inc. (“NYSE”), a national securities exchange.


                                                -3-
           Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 5 of 33




                                           PARTIES

       11.     Plaintiff Robert Lucas purchased USO securities during the Class Period as set

forth in the accompanying certification incorporated herein by reference and has been damaged

thereby.

       12.     Defendant United States Oil Fund, LP is a commodity pool operator that provides

investment exposure to oil markets. The Fund’s shares trade on the NYSE under the symbol

“USO.”

       13.     Defendant United States Commodity Funds LLC (the “Sponsor” or “USCF”) is

the sponsor and general and managing partner for the Fund.

       14.     Defendant John P. Love is the President, Chief Executive Officer and a Principal

of the Sponsor.

       15.     Defendant Stuart P. Crumbaugh is the Chief Financial Officer and a Principal of

the Sponsor.

       16.     The defendants identified in ¶¶14-15 are referred to herein as the “Individual

Defendants.” The Individual Defendants made, or caused to be made, false statements that

artificially inflated the prices of USO securities during the Class Period.      The Individual

Defendants, because of their positions with the Company, possessed the power and authority to

control the contents of USO’s quarterly reports, press releases, and presentations to securities

analysts, money and portfolio managers, and institutional investors, i.e., the market. They were

provided with copies of the Company’s reports and press releases alleged herein to be misleading

prior to or shortly after their issuance and had the ability and opportunity to prevent their

issuance or cause them to be corrected. Because of their positions with the Company and their

access to material non-public information available to them but not to the public, the Individual

Defendants knew that the adverse facts specified herein had not been disclosed to and were being
                                              -4-
           Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 6 of 33




concealed from the public and that the positive representations being made were then materially

false and misleading.     The Individual Defendants are liable for the false and misleading

statements pleaded herein.

          17.   Defendants are liable for: (i) making false and misleading statements; and (ii)

failing to disclose adverse facts known to them about USO. Defendants’ fraudulent scheme and

course of business that operated as a fraud or deceit on purchasers of USO securities was a

success, as it: (i) deceived the investing public regarding USO’s business, prospects and risks;

(ii) artificially inflated the prices of USO securities; and (iii) caused plaintiff and other members

of the Class to purchase USO securities at artificially inflated prices.

                               SUBSTANTIVE ALLEGATIONS

Background to the Fund

          18.   USO is a commodity pool and ETF designed to allow investors to gain exposure

to fluctuations in the price of oil. Because most retail investors are not equipped to buy and sell

barrels of oil or authorized to trade oil futures contracts, they utilize ETFs such as USO to make

investments based on the price of oil and to gain investment exposure to fluctuations in spot oil

prices.

          19.   The Fund’s investment objective is for the daily changes in percentage terms of

its per share net asset value (“NAV”) to reflect the daily changes in percentage terms of the spot

price of WTI light, sweet crude oil delivered to Cushing, Oklahoma. The Fund measures

changes in the spot price of oil by reference to the daily changes in the price of specified short-

term oil futures contracts – called the “Benchmark Oil Futures Contract” – plus interest earned

on USO’s collateral holdings, less USO’s expenses.

          20.   The Fund’s Benchmark Oil Futures Contract refers to the futures contract on

light, sweet crude oil as traded on the New York Mercantile Exchange (the “NYMEX”) that is
                                                 -5-
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 7 of 33




the near month contract to expire, except when the near month contract is within two weeks of

expiration, in which case it refers to the futures contract that is the next month contract to expire.

The Fund’s investment objective is to achieve a daily percentage change in its NAV over any 30-

day period within plus or minus 10% of the daily percentage change in the price of the

Benchmark Oil Futures Contract over the same period. In order to achieve its investment

objective, USO has historically invested substantially all of its assets in current or front-month

WTI futures contracts in order to closely track the Benchmark Oil Futures Contract.

       21.     A futures contract is a legal agreement to buy or sell a particular commodity at a

predetermined price at a specified time in the future. The buyer of a futures contract takes on the

obligation to buy and receive the underlying asset when the futures contract expires, while the

seller of a futures contract takes on the obligation to deliver the underlying asset at expiration.

Futures contracts can be used to hedge other investments, to protect against fluctuations in the

price of a commodity, or as a speculative investment.

       22.     Many investors, including USO, trade futures contracts without any expectation

of ever taking or delivering the underlying asset.        Instead, these investors close out their

positions prior to contract expiry. In the case of USO, the Fund rolled over its futures contract

positions every month by selling its current WTI futures contracts holdings and then using the

proceeds to buy the next month’s WTI futures contracts. When the near month WTI futures

contract was within two weeks of expiry, USO transitioned its positions to the next month

futures contracts over a four-day period, a sequence it repeated every month.

       23.     The Fund’s efforts to roll its portfolio over every month to the next month futures

contract subjected the Fund to market forces known as “backwardation” and “contango.” In the

event of a crude oil futures market where near month contracts trade at a higher price than next


                                                -6-
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 8 of 33




month to expire contracts, a situation described as “backwardation,” then the value of the

contract would tend to rise as it approaches expiration. Conversely, in the event of a crude oil

futures market where near month contracts trade at a lower price than next month contracts, a

situation described as “contango,” then the value of the benchmark contract would tend to

decline as it approaches expiration.

       24.     The    Fund    publishes   its   NAV     per   share   daily   on    its   website,

http://www.uscfinvestments.com/uso. As an ETF, the market price for USO shares can reflect

either a premium or a discount to the Fund’s NAV. However, because market makers, known as

“authorized participants,” can buy new shares or redeem outstanding shares from the Fund,

arbitrage opportunities generally cause daily changes in USO’s share price on the NYSE to

closely track daily changes in USO’s NAV.

        DEFENDANTS’ FRAUDULENT SCHEME AND COURSE OF BUSINESS

       25.     Demand for oil suffered a precipitous decline in early 2020 due to the global

coronavirus pandemic. National, state and local governments imposed mandatory lockdowns to

mitigate the spread of the disease. Businesses closed and consumer spending plummeted.

       26.     Adding to pricing pressures, on March 8, 2020, the Kingdom of Saudi Arabia

unexpectedly announced price discounts for its oil exports of $6 to $8 per barrel to its customers

in Europe, Asia and the United States. The next day, the price of WTI fell 25%, its biggest

single-day decline in decades. In the days that followed, Saudi Arabia and Russia announced

significant increases in oil production, further depressing crude oil prices. By March 18, 2020,

WTI fell below $21 per barrel, an 18-year low and less than half the price of just two weeks

previously.




                                                -7-
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 9 of 33




       27.     Around this same time, retail investors began pouring hundreds of millions of

dollars into USO in order to “buy the dip” in oil prices, expecting (correctly) that the price of oil

would rise as the market effects of the coronavirus pandemic and the Russia/Saudi oil price war

waned. However, unbeknownst to investors – but well known to defendants – the recent market

volatility and massive influx of investor capital had created adverse trends and extreme risks set

to implode USO’s value and which threatened the Fund’s very existence. As the Fund ballooned

in size, issuing over $2.4 billion worth of new shares in the month of March alone, USO also

encountered position limits that impaired its ability to achieve its investment objective and

liquidity constraints that amplified Fund losses.

       28.     In addition, the WTI near future contracts that formed almost the entirety of

USO’s portfolio entered a period of “super contango,” a rare event that occurs when the spot

price trades substantially below the futures price. This dynamic was exacerbated because the

inventory space available to store WTI barrels in Cushing, Oklahoma was quickly filling up due

to excess supply, significantly increasing the costs to store delivered oil barrels. By March 23,

2020, the contango between near month and next month WTI futures contracts reached $2.12, an

increase of more than 1,500% as compared to the contango that existed at the beginning of

March. As the near month WTI futures contracts held by USO approached expiry and converged

on the spot price, the Fund suffered devastating losses and was set to suffer even greater losses

when it rolled forward into significantly more expensive next month contracts in mid-April 2020.

       29.     Defendants, as the creators, issuers and operators of the largest oil-related ETF in

existence and active market-making players in the complex commodities and futures markets

that determined the Fund’s performance, possessed unique insider knowledge about the negative

consequences to the Fund as a result of these converging adverse events. However, rather than


                                                -8-
        Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 10 of 33




disclose the known impacts and risks to the Fund as a result of these exceptional threats,

defendants decided to conduct a massive offering of USO shares to public investors (the

“Offering”).   Despite the fact that the risk profile for the Fund had profoundly changed,

solicitation materials for the Offering substantially mirrored the Fund’s prior disclosures.

Indeed, unbeknownst to investors, the Offering itself materially increased the risks to the Fund

because it heightened liquidity constraints in the WTI futures market and pushed the Fund

towards position limits as the Sponsor piled hundreds of millions of dollars from Offering

proceeds into the Fund’s purported investment strategy.

       30.     On March 19, 2020, USO filed with the SEC a registration statement on Form S-3

to register USO shares for the Offering, which, after amendment, was declared effective March

23, 2020 (the “Registration Statement”). The Individual Defendants signed the Registration

Statement on behalf of themselves, USO and the Sponsor. Defendants would ultimately sell all

of the shares registered under the Registration Statement.

       31.     The Offering allowed defendants to raise hundreds of millions of dollars from

outside investors. In March 2020, the Fund sold over $2.4 billion worth of USO shares to

investors. Similarly, in April 2020, the Fund sold about $3.9 billion worth of USO shares. This

compares to only $3.2 billion worth of USO shares sold during the entirety of 2019.

       32.     The sharp increase in share issuances as a result of the Offering also increased the

management fees paid to the Sponsor and, ultimately, the Individual Defendants as principals of

the Sponsor. USO was contractually obligated to pay the Sponsor a management fee based on

the Fund’s average daily net assets, paid monthly at 0.45% per annum. Proceeds raised from

share issuances increase the Fund’s NAV and, just as importantly, offset Fund losses from

operating and investment activities that would otherwise decrease the Fund’s NAV and,


                                               -9-
          Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 11 of 33




consequently, the management fees paid by the Fund. Despite the fact that the Fund suffered

over $3.8 billion in total net losses in March and April 2020 combined (compared to $485

million in net income for USO’s fiscal 2019), average monthly management fees paid by USO

increased 74% over the average monthly amount paid by the Fund in 2019.

         33.   Soon after the Offering launched, the Fund began to suffer extraordinary losses

and operational malfunctions. By March 31, 2020, the contango between near and next month

WTI futures contracts increased to over $4, nearly doubling in just one week. Two weeks later,

the contango between near and next month WTI futures contracts increased to over $7.

         34.   On April 16, 2020, USO announced a significant change to its investment

strategy. Citing “market conditions and regulatory requirements,” USO stated that it would now

only invest 80% of its portfolio in current month WTI futures contracts (as opposed to the

previous 100% allocation) and the remaining 20% in second month WTI futures contracts. As a

result, USO stated that it “may not be able to meet its investment objective.”

         35.   On April 20, 2020 – the day before the May 2020 WTI contracts expired – the

May 2020 WTI contracts closed at a negative price as investors became concerned that the cost

to store the barrels of oil being delivered to Cushing, Oklahoma would be more than the oil was

worth.

         36.   That same day, USO announced that it was running out of registered shares that it

could sell to the market. As a result, the Fund stated that it may be forced to suspend its creation

of new shares, which could increase the spread between bid and ask prices offered by brokers

and cause the market price of USO shares to significantly diverge from its NAV per share.

         37.   Also on April 20, 2020, USO filed with the SEC a registration statement on Form

S-3 for the sale of additional USO shares to the market (the “April Registration Statement”).


                                               - 10 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 12 of 33




The SEC, however, refused to declare the registration effective out of concern for the impact to

investors, preventing defendants from flooding the market with even more USO shares.

       38.     The April Registration Statement made numerous revelations about how recent

market dynamics had adversely impacted the Fund.          For example, the April Registration

Statement contained an entirely new section regarding “COVID-19 Risk” and the severe impacts

of the pandemic on the Fund’s performance, which had been conspicuously absent from the

Registration Statement. It stated in pertinent part:

       COVID-19 Risk.

               An outbreak of infectious respiratory illness caused by a novel coronavirus
       known as COVID-19 was first detected in China in December 2019 and has now
       been detected globally. In March 2020, the World Health Organization declared
       the COVID-19 outbreak a pandemic. COVID-19 has resulted in numerous deaths,
       travel restrictions, closed international borders, enhanced health screenings at
       ports of entry and elsewhere, disruption of and delays in healthcare service
       preparation and delivery, prolonged quarantines and the imposition of both local
       and more widespread “work from home” measures, cancellations, supply chain
       disruptions, and lower consumer demand, as well as general concern and
       uncertainty. The ongoing spread of COVID-19 has had, and is expected to
       continue to have, a material adverse impact on local economies in the affected
       jurisdictions and also on the global economy, as cross border commercial
       activity and market sentiment are increasingly impacted by the outbreak and
       government and other measures seeking to contain its spread. The impact of
       COVID-19, and other infectious illness outbreaks that may arise in the future,
       could adversely affect individual issuers and capital markets in ways that
       cannot necessarily be foreseen. In addition, actions taken by government and
       quasi-governmental authorities and regulators throughout the world in
       response to the COVID-19 outbreak, including significant fiscal and monetary
       policy changes, may affect the value, volatility, pricing and liquidity of some
       investments or other assets, including those held by or invested in by USO.
       Public health crises caused by the COVID-19 outbreak may exacerbate other
       pre-existing political, social and economic risks in certain countries or globally.
       The duration of the COVID-19 outbreak and its ultimate impact on USO and,
       [sic] on the global economy, cannot be determined with certainty. The COVID-
       19 pandemic and its effects may last for an extended period of time, and could
       result in significant and continued market volatility, exchange trading
       suspensions and closures, declines in global financial markets, higher default
       rates, and a substantial economic downturn or recession. The foregoing could
       impair the USO’s ability to maintain operational standards (such as with
       respect to satisfying redemption requests), disrupt the operations of USO’s
                                               - 11 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 13 of 33




       service providers, adversely affect the value and liquidity of USO’s investments,
       and negatively impact the USO’s performance and your investment in USO.
       The extent to which COVID-19 will affect USO and USO’s service providers
       and portfolio investments will depend on future developments, which are highly
       uncertain and cannot be predicted, including new information that may emerge
       concerning the severity of COVID-19 and the actions taken to contain COVID-
       19. Given the significant economic and financial market disruptions associated
       with the COVID-19 pandemic, the valuation and performance of the USO’s
       investments could be impacted adversely.1

       39.     The April Registration Statement also revealed that the Fund had suffered the

“[w]orst [m]onthly [d]rawdown” in its history in March 2020, losing 55% in a single month. It

acknowledged that the Fund would be unable to achieve any significant interest income for all of

2020 due to losses suffered since the start of the year. It stated that, “[g]iven market volatility in

2020 arising from the COVID-19 pandemic and other geopolitical issues, USO believes it is

reasonable to assume that it will not earn any significant interest income in 2020.”

       40.     On April 21, 2020, USO announced that it had been unable to invest according to

the new investment strategy announced on April 16, 2020. Instead, the Fund had invested 40%

of its portfolio in the first month WTI futures contract, 55% in the second month WTI futures

contract, and 5% in the third month WTI futures contract.

       41.     Also on April 21, 2020, USO announced that the April Registration Statement had

not been declared effective by the SEC and that, as a result, the Fund had issued all of its

remaining registered shares.

       42.     On April 22, 2020, USO announced that the Fund would undergo a 1-for-8

reverse split of shares after market close on April 28, 2020.

       43.     That same day, USO announced that it had once again changed its investment

strategy as a result of “extraordinary market conditions in the crude oil markets, including ‘super


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    Emphasis has been added unless otherwise noted.

                                                - 12 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 14 of 33




contango.’” As a result, it stated that it would be investing only approximately 20% of its

portfolio in the first month WTI futures contract, while investing 50% in the second month WTI

futures contract, 20% in third month WTI futures contract, and 10% in the fourth month WTI

futures contract.

       44.     Two days later, on April 24, 2020, USO stated that it was yet again altering its

investment strategy. While it would still be investing approximately 20% of its portfolio in the

first month WTI futures contract, USO claimed it would now invest 40% in the second month

WTI futures contract, 20% in third month WTI futures contract, and 20% in the fourth month

WTI futures contract.

       45.     Three days after that, on April 27, 2020, USO stated that it was once again

revising its investment strategy. As a result, it would invest approximately 30% in the second

month WTI futures contract, 15% in the third month WTI futures contract, 15% in the fourth

month WTI futures contract, 15% in the fifth month WTI futures contract, 15% in the sixth

month WTI futures contract, and 10% in the June 2021 WTI futures contract.

       46.     As a result of these sudden and dramatic changes, the Fund’s investment strategy

was fundamentally different from the strategy represented to investors in the Registration

Statement. Indeed, as had become apparent, the passive strategy of investing Fund assets in

current month WTI futures contracts was not feasible during the Class Period because of the

undisclosed adverse trends that the Fund was then experiencing, as detailed herein.

       47.     On April 27, 2020, USO filed with the SEC an amendment to the April

Registration Statement on Form S-3/A, which included additional disclosures regarding the

convergence of adverse factors impacting the Fund and its performance (the “April

Amendment”). For example, the April Amendment stated that the Fund was suffering from the


                                              - 13 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 15 of 33




impacts of “super contango.” It also revealed that the Fund’s performance and ability to execute

its strategy had been impacted not only by COVID-19, but also the Russia/Saudi oil price war,

the sale of an enormous amount of USO shares in a short period of time (an effect compounded

by the Offering), and regulatory and marketplace limits placed on the Fund. It stated in pertinent

part:

        In 2020, in the context of the COVID-19 pandemic and disputes among oil
        producing countries regarding potential limits on the production of crude oil,
        significant market volatility occurred and is continuing in the crude oil markets as
        well as the oil futures markets. As a result of market and regulatory conditions,
        including significant market volatility, large numbers of USO shares purchased
        during a short period of time, regulatory accountability levels and position
        limits on oil futures contracts that were imposed on USO, USO announced its
        intent to invest in Oil Futures Contracts other than the Benchmark Oil Futures
        Contract and that it could, if it determined it appropriate in light of market
        conditions and regulatory requirements, invest in Other Oil-Related Interests.
        Investments intended to meet USO’s investment objective, other than
        investments in the Benchmark Futures Contract, may impact the performance
        of USO and can make it difficult for USO to track the Benchmark Futures
        Contract or meet its investment objective.

                Certain circumstances, including the need to comply with regulatory
        requirements (including, but not limited to, exchange accountability and
        position limits) and market conditions (including but not limited to those
        allowing USO to obtain greater liquidity or to execute transactions with more
        favorable pricing) as well as risk mitigation measures imposed . . . by USO’s
        futures commission merchant that further limit USO and other market
        participants from investing in crude oil futures contracts in certain months,
        could and have caused USO to invest in Oil Futures Contracts other than the
        Benchmark Oil Futures Contract. Currently, in the context of the COVID-19
        pandemic and disputes among oil producing countries regarding potential
        limits on the production of crude oil, significant market volatility occurred in
        the oil futures markets. In addition, the exchange where the Benchmark Oil
        Futures Contract is traded became concerned about positions that USO had
        acquired in that contract and imposed limits on USO’s holding of that contract,
        as well as subsequent months of that contract.

        48.    The April Amendment also acknowledged that the Fund risked substantially

diverging from its benchmark and failing to meeting its investment objective because of market




                                               - 14 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 16 of 33




conditions and its inability to sufficiently invest in the Benchmark Futures Contracts.       It

continued in pertinent part:

               In 2020, in the context of the COVID-19 pandemic and disputes among oil
       producing countries regarding potential limits on the production of crude oil,
       significant market volatility occurred and is continuing in the crude oil markets as
       well as the oil futures markets. As a result of market and regulatory conditions,
       including significant market volatility, large numbers of USO shares purchased
       during a short period of time, and applicable regulatory accountability levels
       and position limits on oil futures contracts that were imposed on USO, USO
       invested in Oil Futures Contracts in months other than the Benchmark Oil
       Futures Contracts. The foregoing impacted the performance of USO and made
       it difficult for USO to track the Benchmark Futures Contract or meet its
       investment objective, which is for the daily percentage changes in the NAV per
       share to reflect the daily percentage changes of the spot price of light, sweet
       crude oil, as measured by the daily percentage changes in the price of
       Benchmark Oil Futures Contract, plus interest earned on USO’s collateral
       holdings, less USO’s expenses.

               USO intends to attempt to continue tracking the Benchmark Futures
       Contract as closely as possible, however, in the current market and regulatory
       environment, significant tracking deviations can be anticipated to occur above
       and beyond the differences that historically occurred when the primary
       investment was the Benchmark Futures Contract and light sweet crude oil
       futures contracts of the same month traded on ICE Futures. In addition, the
       types of permitted investments that USO invests in as a result of regulatory
       requirements and limits imposed by its futures commission merchants in trying
       to approximate its investment objective such as later months in the Oil Futures
       Contracts than the tenor of the Benchmark Futures Contract are likely, and
       will likely continue, to experience greater effects from contango. While it is
       USO’s expectation that at some point in the future it will return to investing in
       the Benchmark Futures Contract and related ICE Futures contracts or other
       similar futures contracts of the same tenor based on light, sweet crude oil, there
       can be no guarantee of when, if ever, that will occur. As a result, investors in
       USO should expect that there will be continued deviations between the
       performance of USO’s investments and the Benchmark Futures Contract and
       that USO may not be able to track the Benchmark Futures Contract or meet its
       investment objective.

       49.     On April 28, 2020, USO filed with the SEC the Fund’s monthly account

statement for March 2020 on Form 8-K. The statement revealed that USO had suffered nearly

$1.2 billion in total losses for the month. However, because the Fund also issued over $2.4

billion worth of new USO shares, the Fund’s total NAV actually increased during the month.
                                              - 15 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 17 of 33




April 28, 2020 was also the last day before the Fund’s reverse split. That day, the price of USO

closed at $2.13 per share, down over 60% since the start of the Class Period, despite the injection

of billions of dollars in outside investor capital into the Fund as a result of new share issuances.

       50.     On April 30, 2020, USO filed a notice with the SEC on Form 8-K disclosing that

the Fund was once again changing its investment strategy and would likely continue to make

such changes going forward. Because of the frequent and dramatic changes to its investment

strategy, the Fund stated that it would provide future updates on its investments on the Fund’s

website pursuant to a complex waterfall formula, effectively giving the Sponsor carte blanche to

invest in any oil-related investments that it saw fit and destroying any pretense that the Fund was

following the investment objective represented to investors in the Registration Statement. In a

span of only a few weeks, the USO had radically changed from a passive investment vehicle

used to track the spot price of oil through current WTI futures contracts to what was effectively

an actively managed fund frantically struggling to avoid a total implosion through a hodgepodge

of oil-related investments. In addition, the notice stated that USO had suffered “significant

deviations” from its claimed investment objective as a result of its inability to invest in the near

month WTI futures market.

       51.     On May 6, 2020, USO filed with the SEC another amendment on Form S-3/A to

the April Registration Statement (the “May Amendment”). The May Amendment made clear

that the extraordinary market conditions that had destroyed the ability of the Fund to follow its

investment objective and caused investors to suffer billions of dollars in losses had materially

impacted the Fund by March 2020 – i.e., before the Offering – despite the fact that these specific

impacts and threats to the Fund’s performance were omitted from the Registration Statement.

The robust and specific risk disclosures provided in the May Amendment stood in stark contrast


                                                - 16 -
        Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 18 of 33




to the lack of such disclosures in the Registration Statement, notwithstanding the fact that these

disclosures were required to be made in the Registration Statement in order to make the

statements provided therein not misleading and to comply with SEC regulations. For example,

the May Amendment stated in pertinent part:

               As a result of previously discussed market conditions and the regulatory
       response that occurred in March and April of 2020, large numbers of USO shares
       that were purchased during a short period of time, and regulatory accountability
       levels and position limits on oil futures contracts that were imposed on USO,
       USO invested in Oil Futures Contracts in months other than the Benchmark Oil
       Futures Contracts. The foregoing impacted the performance of USO and made it
       difficult for USO to meet its investment objective, which is for the daily
       percentage changes in the NAV per share to reflect the daily percentage changes
       of the spot price of light, sweet crude oil, as measured by the daily percentage
       changes in the price of Benchmark Oil Futures Contract, plus interest earned on
       USO’s collateral holdings, less USO’s expenses.

                                        *       *      *

               In March 2020, contango dramatically increased and reached historic
       levels during the economic crisis arising from the COVID-19 pandemic and
       disputes among oil producing nations regarding limits on oil production levels.
       This contango was due to significant market volatility that has occurred and is
       continuing in the crude oil markets as well as the oil futures markets. Crude oil
       prices have collapsed in the wake of the COVID-19 demand shock, which
       reduced global petroleum consumption, and the price war launched by Saudi
       Arabia at the beginning of March 2020 in response to Russia’s unwillingness to
       participate in extending previously agreed upon supply cuts. An estimated twenty
       million barrels a day of crude demand evaporated as a result of quarantines and
       massive drops in industrial and manufacturing activity. In addition, the United
       States, OPEC, Russia, and other oil producers around the world agreed to a
       historic 9.7 million barrel per day cut to crude supply. In the short term, this cut
       does not close the gap relative to the massive drop in demand. However, the
       duration of the agreement, lasting until 2022, should allow oil prices to slowly
       recover as demand re-materializes. The supply cut should also reduce at least
       some of the unprecedented volatility oil markets experienced in March. As the
       crisis continues into the second quarter of 2020, and potentially beyond, demand
       weakness and limited storage capacity will continue to put pressure on crude oil
       in the near term.

       52.     On May 27, 2020, USO filed the Fund’s monthly account statement for April

2020 on Form 8-K with the SEC. The statement revealed that USO had suffered over $2.6


                                              - 17 -
        Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 19 of 33




billion in total losses for the month, which included more than $3.6 billion in realized trading

losses on futures contracts (partially offset by unrealized trading gains). However, because the

Fund also issued over $3.8 billion worth of new USO shares, the Fund’s total NAV actually

increased during the month.

       53.     On May 29, 2020, it was reported that the SEC and the Commodity Futures

Trading Commission had both launched investigations into USO regarding the propriety of the

Fund’s disclosures to investors and the Fund’s rapid-fire changes to its investment strategy.

       54.     As a result of defendants’ wrongful acts and omissions, plaintiff and the Class

purchased USO securities at artificially inflated prices, suffering significant losses and were

damaged thereby.

               DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
                   STATEMENTS DURING THE CLASS PERIOD

       55.     The Class Period begins on March 19, 2020. On that day, defendants filed with

the SEC the Registration Statement on Form S-3. Numerous representations to investors in the

Registration Statement were materially false and misleading when made. For example, despite

the severity of the adverse market trends impacting the Fund, which caused it to suffer hundreds

of millions of dollars in losses and threatened the Fund’s very existence, the Registration

Statement contained substantially the same generic boilerplate risk disclosures that the Fund had

provided in past registration statements. This conveyed to the market that USO was not facing

the extraordinary convergence of existential threats that the Fund was in fact facing at the time.

The Registration Statement did not even mention the Russia/Saudi price war, the effects of

“super contango,” the specific impacts of ongoing market volatility on Fund performance, or the

fact that the Fund was approaching position limits and liquidity constraints because of the




                                              - 18 -
            Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 20 of 33




massive influx of investor capital into the Fund (an adverse trend accelerated by the Offering

itself).

           56.    The Registration Statement also failed to provide any specifics regarding the

effects of the COVID-19 pandemic, instead merely listing “pandemics such as COVID-19”

among a laundry list of general market “events or conditions” that “may adversely impact the

demand for crude oil.” The Registration Statement stated in pertinent part:

                   Economic conditions impacting crude oil. The demand for crude oil
           correlates closely with general economic growth rates. The occurrence of
           recessions or other periods of low or negative economic growth will typically
           have a direct adverse impact on crude oil prices. Other factors that affect general
           economic conditions in the world or in a major region, such as changes in
           population growth rates, periods of civil unrest, pandemics (e.g. COVID-19)[,]
           government austerity programs, or currency exchange rate fluctuations, can also
           impact the demand for crude oil. Sovereign debt downgrades, defaults, inability
           to access debt markets due to credit or legal constraints, liquidity crises, the
           breakup or restructuring of fiscal, monetary, or political systems such as the
           European Union, and other events or conditions (e.g. pandemics such as
           COVID-19), that impair the functioning of financial markets and institutions also
           may adversely impact the demand for crude oil.

           57.    The statements in ¶56 were materially false and misleading when made. At the

time of the Offering, the Fund had already been severely impacted by increased volatility in oil

and oil-related markets and reduced oil demand as a result of the COVID-19 pandemic, which

had compromised the Fund’s ability to achieve its investment strategy and objective and caused

the Fund to suffer hundreds of millions of dollars in losses. The bald mention of COVID-19 in

the Registration Statement among a laundry list of general market conditions that “may” possibly

cause future adverse impacts to the Fund omitted the adverse impacts, concrete harms and

existential threats posed by the pandemic that already existed at the time. Rather than timely

provide this information in the Registration Statement as was required, these adverse facts were

only belatedly revealed after the Offering had been completed, including in the COVID-19-


                                                 - 19 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 21 of 33




related disclosures contained in the April Amendment and the May Amendment and similar

belated disclosures by USO, as detailed in ¶¶34-52 above.

       58.        The Registration Statement likewise discussed general factors that “may affect”

oil supply and demand, but omitted the acute impacts that the Fund was already suffering as a

result of the Russia/Saudi oil price war and the precipitous slowdown in demand as a result of

the coronavirus pandemic.       These discussions were essentially verbatim to representations

contained in the Fund’s prior registration statements, despite the materially different risks that

the Fund was then experiencing at the time of the Offering. The Registration Statement stated in

pertinent part:

               Other crude oil demand-related factors. Other factors that may affect the
       demand for crude oil and therefore its price, include technological improvements
       in energy efficiency; seasonal weather patterns, which affect the demand for crude
       oil associated with heating and cooling; increased competitiveness of alternative
       energy sources that have so far generally not been competitive with oil without
       the benefit of government subsidies or mandates; and changes in technology or
       consumer preferences that alter fuel choices, such as toward alternative fueled
       vehicles.

                Other crude oil supply-related factors. Crude oil prices also vary
       depending on a number of factors affecting supply. For example, increased supply
       from the development of new oil supply sources and technologies to enhance
       recovery from existing sources tends to reduce crude oil prices to the extent such
       supply increases are not offset by commensurate growth in demand. Similarly,
       increases in industry refining or petrochemical manufacturing capacity may
       impact the supply of crude oil. World oil supply levels can also be affected by
       factors that reduce available supplies, such as adherence by member countries to
       the Organization of the Petroleum Exporting Countries (“OPEC”) production
       quotas and the occurrence of wars, hostile actions, natural disasters, disruptions in
       competitors’ operations, or unexpected unavailability of distribution channels that
       may disrupt supplies. Technological change can also alter the relative costs for
       companies in the petroleum industry to find, produce, and refine oil and to
       manufacture petrochemicals, which in turn may affect the supply of and demand
       for oil.

       59.        Similarly, the Registration Statement contained boilerplate discussions of the

potential impacts of contango, regulatory position limits and accountability levels, market

                                               - 20 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 22 of 33




volatility, illiquidity and correlation risks that were substantially identical to the representations

defendants had made in connection with past offerings, despite the fact that the Fund was

already suffering acute impacts from each of these so-called potential risks that “may” or

“could” impact the Fund in the future.          Indeed, rather than disclose the true facts, the

Registration Statement claimed that the Fund’s investments remained highly liquid, stating:

               USO invests only in Oil Futures Contracts and Other Oil-Related
       Investments that, in the opinion of USCF, are traded in sufficient volume to
       permit the ready taking and liquidation of positions in these financial interests and
       in Other Oil-Related Investments that, in the opinion of USCF, may be readily
       liquidated with the original counterparty or through a third party assuming the
       position of USO.

       60.     The statements in ¶¶58-59 were materially false and misleading when made.

Specifically, while the Registration Statement acknowledged the materiality to the Fund of

certain categories of potentially adverse events, it failed to disclose that severe examples of these

general prospective categories were already then occurring, threatening the Fund’s very

existence and undermining the Fund’s ability to achieve its investment objective. Instead of

disclosing known adverse impacts and the specific risks that the Fund was then facing, the

Registration Statement offered only generic, boilerplate discussions of future potential adverse

impacts to the Fund that “may” or “could” occur if general categories of contingent

circumstances later developed. Further, by failing to provide any meaningful discussion of

concrete harms and imminent threats then facing the Fund and instead simply copying generic,

boilerplate risk disclosures from past offerings, the Registration Statement represented to

investors that the risk profile of the Fund had not materially changed since the time of these prior

offerings. In fact, the Fund was facing multiple crises that had radically altered its risk profile

and undermined its ability to achieve its investment objective (as defendants would later be

forced to concede), including: (1) extraordinary market volatility caused by decreased demand

                                                - 21 -
        Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 23 of 33




for oil from the coronavirus pandemic and increased oil supply and diminished oil prices caused

by the Russia/Saudi oil price war; (2) a massive influx of investor capital into the Fund, totaling

hundreds of millions of dollars, in a matter of days, which increased Fund inefficiencies,

heightened illiquidity in the WTI futures contract markets in which the Fund invested, and

caused the Fund to approach positional and regulatory limits (adverse trends exacerbated by the

Offering itself); and (3) a sharp divergence between spot and future prices in the WTI oil

markets, leading to a super contango market dynamic as oil storage space in Cushing, Oklahoma

dwindled and was insufficient to account for the excess supply expected to be delivered pursuant

to the WTI May 2020 futures contract. These events synergistically converged during the Class

Period to adversely impact USO, threatening the Fund in ways uniquely known and understood

by defendants because of their insider and market maker status.

       61.     The Registration Statement also misrepresented “USO’s Investment Objective

and Strategy.” The Registration Statement stated that the Fund’s investment objective was “for

the daily changes in percentage terms of its shares’ per share [NAV] to reflect the daily changes

in percentage terms of the spot price of light, sweet crude oil delivered to Cushing, Oklahoma, as

measured by the daily changes in the price of [the Benchmark Oil Futures Contract], plus interest

earned on USO’s collateral holdings, less USO’s expenses.” It defined “[t]he Benchmark Oil

Futures Contract” as “the futures contract on light, sweet crude oil as traded on the [NYMEX]

that is the near month contract to expire, except when the near month contract is within two

weeks of expiration, in which case it will be measured by the futures contract that is the next

month contract to expire.”

       62.     Similarly, the Registration Statement represented that the Fund would achieve its

investment objective by investing in the near month WTI futures contract, stating that the


                                              - 22 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 24 of 33




“design of USO’s Benchmark Oil Futures Contract is such that every month it begins by using

the near month contract to expire until the near month contract is within two weeks of expiration,

when, over a four day period, it transitions to the next month contract to expire as its benchmark

contract and keeps that contract as its benchmark until it becomes the near month contract and

close to expiration.” Likewise the Registration Statement claimed that the “Benchmark Oil

Futures Contract is changed from the near month contract to the next month contract over a four-

day period.” It continued in pertinent part:

                In addition, USCF believes that market arbitrage opportunities will cause
        daily changes in USO’s share price on the NYSE Arca on a percentage basis to
        closely track daily changes in USO’s per share NAV on a percentage basis. USCF
        further believes that daily changes in prices of the Benchmark Oil Futures
        Contract have historically closely tracked the daily changes in spot prices of light,
        sweet crude oil. USCF believes that the net effect of these relationships will be
        that the daily changes in the price of USO’s shares on the NYSE Arca on a
        percentage basis will closely track, the daily changes in the spot price of a
        barrel of light, sweet crude oil on a percentage basis, less USO’s expenses.

        63.    Moreover, the Registration Statement stated, “USCF [i.e., the Sponsor] believes

that market arbitrage opportunities will cause the daily changes in USO’s share price on the

NYSE Arca to closely track the daily changes in USO’s per share NAV” and “that the daily

changes in USO’s NAV in percentage terms will closely track the daily changes in percentage

terms in the Benchmark Oil Futures Contract, less USO’s expenses.” It continued in pertinent

part:

                USCF employs a “neutral” investment strategy in order to track changes
        in the price of the Benchmark Oil Futures Contract regardless of whether the
        price goes up or goes down. USO’s “neutral” investment strategy is designed to
        permit investors generally to purchase and sell USO’s shares for the purpose of
        investing indirectly in crude oil in a cost-effective manner, and/or to permit
        participants in the oil or other industries to hedge the risk of losses in their crude
        oil-related transactions. Accordingly, depending on the investment objective of an
        individual investor, the risks generally associated with investing in crude oil
        and/or the risks involved in hedging may exist.


                                                - 23 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 25 of 33




       64.     The Registration Statement also claimed that USO was “not actively managed”

and instead simply “tracks the Benchmark Oil Futures Contract during periods in which the price

of the Benchmark Oil Futures Contract is flat or declining as well as when the price is rising.” It

continued in pertinent part:

               USO is not actively managed by conventional methods. Accordingly, if
       USO’s investments in Oil Interests are declining in value, USO will not close
       out such positions except in connection with paying the proceeds to an
       Authorized Participant upon the redemption of a basket or closing out futures
       positions in connection with the monthly change in the Benchmark Oil Futures
       Contract. USCF will seek to cause the NAV of USO’s shares to track the
       Benchmark Oil Futures Contract during periods in which its price is flat or
       declining as well as when the price is rising.

       65.     The statements in ¶¶61-64 were materially false and misleading when made.

Specifically, USO could not pursue the claimed passive investment strategy or objective

portrayed in the Registration Statement because the Fund was facing a host of interrelated crises

that had undermined its ability to invest substantially all Fund assets in the near month WTI

futures contract and thus track its benchmark, including: (1) extraordinary market volatility

caused by decreased demand for oil from the coronavirus pandemic and increased oil supply and

diminished oil prices caused by the Russia/Saudi oil price war; (2) a massive influx of investor

capital into the Fund, totaling hundreds of millions of dollars, in a matter of days, which

increased Fund inefficiencies, heightened illiquidity in the WTI futures contract markets in

which the Fund invested, and caused the Fund to approach positional and regulatory limits

(adverse trends exacerbated by the Offering itself); and (3) a sharp divergence between spot and

future prices in the WTI oil markets, leading to a super contango market dynamic as oil storage

space in Cushing, Oklahoma dwindled and was insufficient to account for the excess supply

expected to be delivered pursuant to the WTI May 2020 futures contract. As a result, the Fund

could not continue to pursue the passive investment strategy represented in the Registration

                                              - 24 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 26 of 33




Statement, causing its results to significantly deviate from its purported benchmark, and the Fund

was not an effective means for investors to track the daily percentage changes in the spot price of

light, sweet crude oil delivered to Cushing, Oklahoma.

       66.     Moreover, Item 303 of SEC Regulation S-K, 17 C.F.R. §229.303(a)(3)(ii) (“Item

303”), required defendants to “[d]escribe any known trends or uncertainties that have had or that

the registrant reasonably expects will have a material favorable or unfavorable impact on net

sales or revenues or income from continuing operations.”               Similarly, Item 105 of SEC

Regulation S-K, 17 C.F.R. §229.105 (“Item 105”), required, in the “Risk Factors” section of the

Registration Statement, “a discussion of the most significant factors that make an investment in

the registrant or offering speculative or risky” and that each risk factor “adequately describe[] the

risk.” The failure of the Registration Statement to disclose the concrete harms and acute risks to

the Fund posed by the coronavirus pandemic, the Russia/Saudi oil price war, the massive influx

of investor capital into the Fund, the fact that the Fund was approaching position and

accountability limits, the effects of super contango, and insufficient WTI storage capacity

violated Item 303 because these undisclosed risks were known to defendants and would (and did)

have an unfavorable impact on USO’s revenues and income from continuing operations. This

failure also violated Item 105 because these specific risks were not adequately disclosed, or

disclosed at all, even though they were some of the most significant factors that made an

investment in USO securities speculative or risky.

                               CLASS ACTION ALLEGATIONS

       67.     Plaintiff brings this action as a class action on behalf of all persons who purchased

USO securities during the Class Period (the “Class”). Excluded from the Class are defendants

and their families, the officers, directors and affiliates of the defendants, at all relevant times, and


                                                 - 25 -
        Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 27 of 33




members of their immediate families, and their legal representatives, heirs, successors or assigns

and any entity in which defendants have or had a controlling interest.

       68.     The members of the Class are so numerous that joinder of all members is

impracticable. Fund shares are actively traded on the NYSE under the ticker symbol “USO” and

millions of shares were sold throughout the Class Period. While the exact number of Class

members is unknown to plaintiff at this time and can only be ascertained through appropriate

discovery, plaintiff believes that there are hundreds of members in the proposed Class. Record

owners and other members of the Class may be identified from records maintained by USO or its

transfer agent and may be notified of the pendency of this action by mail, using the form of

notice similar to that customarily used in securities class actions, including being given an

opportunity to exclude themselves from the Class.

       69.     Plaintiff’s claims are typical of the claims of the members of the Class, as all

members of the Class are similarly affected by defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       70.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

       71.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               (a)    whether defendants violated the 1934 Act;

               (b)    whether statements made by defendants to the investing public during the

Class Period about the business, operations and risks of investing in the Fund were false and

misleading; and


                                              - 26 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 28 of 33




                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

        72.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

                          LOSS CAUSATION AND ECONOMIC LOSS

        73.       As detailed herein, defendants engaged in a scheme to deceive the market and a

course of conduct that artificially inflated the prices of USO securities and operated as a fraud or

deceit on purchasers of USO securities. As detailed above, when the truth about defendants’

misconduct was revealed, the value of USO securities declined precipitously as the prior

artificial inflation no longer propped up the prices of such securities. The declines in the prices

of USO securities were the direct result of the nature and extent of defendants’ fraud finally

being revealed to investors and the market. The timing and magnitude of the share price declines

negate any inference that the losses suffered by plaintiff and members of the Class were caused

by changed market conditions, macroeconomic or industry factors or Fund-specific facts

unrelated to the defendants’ fraudulent conduct. The economic loss, i.e., damages, suffered by

plaintiff and members of the Class was a direct result of defendants’ fraudulent scheme to

artificially inflate the prices of USO securities and the subsequent significant decline in the value

of the Fund’s securities when defendants’ prior misrepresentations and other fraudulent conduct

were revealed.


                                                 - 27 -
           Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 29 of 33




          74.   At all relevant times, defendants’ materially false and misleading statements or

omissions alleged herein directly or proximately caused the damages suffered by plaintiff and the

members of the Class. Those statements were materially false and misleading through their

failure to disclose a true and accurate picture of the Fund’s business and operations, as alleged

herein.    Before and during the time of plaintiff’s and Class members’ purchases of USO

securities, defendants issued materially false and misleading statements and omitted material

facts necessary to make defendants’ statements not false or misleading, causing the prices of

USO securities to be artificially inflated. Plaintiff and members of the Class purchased USO

securities at those artificially inflated prices, causing them to suffer damages as complained of

herein.

                      APPLICABILITY OF PRESUMPTION OF RELIANCE:
                           FRAUD-ON-THE-MARKET DOCTRINE

          75.   At all relevant times, USO securities traded in an efficient market for the

following reasons, among others:

                (a)      USO shares met the requirements for listing and were listed and actively

traded on the NYSE, a highly efficient and automated market;

                (b)      as a regulated issuer, USO filed periodic public reports with the SEC;

                (c)      defendants regularly communicated with public investors via established

market communication mechanisms, including the regular dissemination of press releases on

national circuits of major newswire services, the Internet and other wide-ranging public

disclosures; and

                (d)      unexpected material news about the Fund was rapidly reflected in and

incorporated into the price of the Fund’s securities.




                                                - 28 -
             Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 30 of 33




        76.      As a result of the foregoing, the market for USO securities promptly digested

current information regarding the Fund from publicly available sources and reflected such

information in the prices of USO securities. Under these circumstances, a presumption of

reliance applies to plaintiff’s and Class members’ purchases of Fund securities.

        77.      A presumption of reliance is also appropriate in this action under the Supreme

Court’s holding in Affiliated Ute Citizens v. United States, 406 U.S. 128 (1972), because

plaintiff’s claims are based, in significant part, on defendants’ material omissions. Because this

action involves defendants’ failure to disclose material adverse information regarding the Fund’s

business, operations and risks, positive proof of reliance is not a prerequisite to recovery. All

that is necessary is that the facts withheld be material in the sense that a reasonable investor

might have considered them important in making investment decisions. Given the importance of

defendants’ material misstatements and omissions set forth above, that requirement is satisfied

here.

                                       NO SAFE HARBOR

        78.      Defendants’ false or misleading statements alleged to be actionable herein were

not forward-looking statements (“FLS”), or were not identified as such by defendants, but rather,

were statements of historical and present fact, and thus did not fall within any “Safe Harbor.”

        79.      Defendants’ verbal “Safe Harbor” warnings accompanying any of their oral FLS

failed to provide meaningful cautionary statements regarding the specific facts and

circumstances facing the Fund, and thus were ineffective to shield those statements from

liability.

        80.      Defendants are also liable for any false or misleading FLS pleaded because, at the

time each FLS was made, the speaker knew the FLS was false or misleading and the FLS was

authorized and/or approved by an executive officer of USO or the Sponsor who knew that the
                                               - 29 -
        Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 31 of 33




FLS was false. Further, none of the historic or present tense statements made by defendants

were assumptions underlying or relating to any plan, projection or statement of future economic

performance, as they were not stated to be such assumptions underlying or relating to any

projection or statement of future economic performance when made.

                                            COUNT I

                     For Violation of §10(b) of the 1934 Act and Rule 10b-5
                                    Against All Defendants

       81.     Plaintiff incorporates the foregoing paragraphs by reference.

       82.     Defendants disseminated or approved the false or misleading statements specified

above, which they knew or recklessly disregarded were misleading in that they contained

misrepresentations and failed to disclose material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading.

       83.     These defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

               (a)     Employed devices, schemes and artifices to defraud;

               (b)     Made untrue statements of material fact or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading; or

               (c)     Engaged in acts, practices and a course of business that operated as a fraud

or deceit upon plaintiff and Class members in connection with their purchases of USO securities.

       84.     Plaintiff and the other members of the Class have suffered damages in that, in

reliance on the integrity of the market, they paid artificially inflated prices for USO securities.

Plaintiff and the other members of the Class would not have purchased USO securities at the

prices paid, or at all, had they been aware that the market prices were artificially and falsely

inflated by defendants’ misleading statements.

                                              - 30 -
         Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 32 of 33




       85.     As a direct and proximate result of defendants’ wrongful conduct, plaintiff and

the Class suffered damages in connection with their purchases of USO securities.

                                            COUNT II

                           For Violation of §20(a) of the 1934 Act
                      Against the Sponsor and the Individual Defendants

       86.     Plaintiff incorporates the foregoing paragraphs by reference.

       87.     The Sponsor and the Individual Defendants were control persons of USO within

the meaning of §20(a) of the 1934 Act.

       88.     By virtue of their high-level positions, and their ownership and contractual rights,

participation in and/or awareness of USO’s operations and/or intimate knowledge of the false

and misleading statements filed by USO with the SEC and disseminated to the investing public,

the Sponsor and the Individual Defendants had the power to influence and control and did

influence and control, directly or indirectly, the decision-making of USO, including the content

and dissemination of the various statements plaintiff contends are false and misleading. The

Sponsor and the Individual Defendants were provided with, or had unlimited access to, copies of

USO’s reports, press releases, public filings and other statements alleged by plaintiff to be

misleading before and/or shortly after these statements were issued and had the ability to prevent

the issuance of the statements or cause the statements to be corrected.         The Sponsor also

controlled the Individual Defendants as it did all of its employees.

                                    PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for relief and judgment, as follows:

       A.      Determining that this action is a proper class action, designating plaintiff as Lead

Plaintiff and certifying plaintiff as class representative under Rule 23 of the Federal Rules of

Civil Procedure and plaintiff’s counsel as Lead Counsel;


                                               - 31 -
        Case 1:20-cv-04740-PGG Document 1 Filed 06/19/20 Page 33 of 33




       B.     Awarding plaintiff and the Class compensatory damages at an amount to be

determined at trial and pre-judgment and post-judgment interest thereon;

       C.     Awarding plaintiff’s reasonable costs and expenses, including attorneys’ fees; and

       D.     Awarding such other relief as the Court may deem just and proper.

                                       JURY DEMAND

       Plaintiff hereby demands a trial by jury.

DATED: June 19, 2020                           ROBBINS GELLER RUDMAN
                                                & DOWD LLP
                                               SAMUEL H. RUDMAN


                                                             s/ Samuel H. Rudman
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                                              - 32 -
